               Case 22-01307-als7                  Doc 1        Filed 12/02/22 Entered 12/02/22 11:42:57                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF IOWA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Marc
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        A.
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Mundt
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9430
     Individual Taxpayer
     Identification number
     (ITIN)



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Debtor 1   Marc A. Mundt                                                                             Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 610 Reed Ct
                                 West Des Moines, IA 50266
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Dallas
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Marc A. Mundt                                                                                 Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Marc A. Mundt                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
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Debtor 1    Marc A. Mundt                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Marc A. Mundt                                                                                 Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Marc A. Mundt
                                 Marc A. Mundt                                                     Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     December 2, 2022                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Marc A. Mundt                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Brian J. Lalor                                                 Date         December 2, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Brian J. Lalor
                                Printed name

                                Wandro & Associates, P.C.
                                Firm name

                                2501 Grand Avenue
                                Des Moines, IA 50312
                                Number, Street, City, State & ZIP Code

                                Contact phone     515-281-1475                               Email address         blalor@2501grand.com
                                AT0010564 IA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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Fill in this information to identify your case:

Debtor 1                   Marc A. Mundt
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             475,460.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             266,946.58

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             742,406.58

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             187,198.34

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             120,000.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          9,096,769.85


                                                                                                                                    Your total liabilities $             9,403,968.19


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,081.07

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,073.87

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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Debtor 1    Marc A. Mundt                                                               Case number (if known)
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

     9d. Student loans. (Copy line 6f.)                                                                 $

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


     9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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Fill in this information to identify your case and this filing:

Debtor 1                    Marc A. Mundt
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF IOWA

Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       610 Reed Ct.                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
       West Des Moines                   IA        50266-0000                         Land                                       entire property?           portion you own?
       City                              State              ZIP Code                  Investment property                               $475,460.00                $475,460.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Fee simple
       Dallas                                                                         Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Property assessed by Dallas County Assessor at $475,460


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $475,460.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
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Debtor 1         Marc A. Mundt                                                                                     Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Ford                                     Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Explorer                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2022                                        Debtor 2 only                                                Current value of the     Current value of the
         Approximate mileage:                  2000             Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                  $53,382.00                 $53,382.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $53,382.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   Household goods, appliances, furniture, miscellaneous                                                                          $3,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                   Computer, phone, additional devices                                                                                            $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
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Debtor 1         Marc A. Mundt                                                                                              Case number (if known)

      Yes. Describe.....

                                          Handgun - Public Defender                                                                                                $300.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          Men's Attire                                                                                                             $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $5,300.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                People's Bank                                                      $738.77


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                      TD Ameritrade                                                                                                 $48.49


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No

Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 3
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Debtor 1     Marc A. Mundt                                                                Case number (if known)

      Yes. Give specific information about them...................
                                 Name of entity:                                           % of ownership:

                                    RD Group Management, Inc.                                    80          %            Unknown


                                    RDCM LLC                                                     50          %            Unknown


                                    RDIP LLC                                                     50          %            Unknown


                                    Riley Drive, Inc.                                            50          %            Unknown


                                    Riley Drive Funding I LLC                                    50          %            Unknown


                                    Riley Drive Catering LLC                                     50          %            Unknown


                                    Riley Drive Entertainment I, Inc.                            50          %            Unknown


                                    Riley Drive Enteratinment IX, Inc.                           33          %            Unknown


                                    Riley Drive Entertainment V, Inc.                            50          %            Unknown


                                    Riley Drive Entertainment 22, Inc.                           33          %            Unknown


                                    Riley Drive Entertainment XX, Inc.                           33          %            Unknown


                                    Riley Drive Entertainment VII, Inc.                          33          %            Unknown


                                    Riley Drive Entertainment X, LLC                             50          %            Unknown


                                    Riley Drive Entertainment XV, Inc.                           50          %            Unknown


                                    Riley Drive Entertainment XVI, Inc.                          33          %            Unknown


                                    Riley Drive Entertainment XVII, LLC                          50          %            Unknown


                                    Riley Drive Investments, LLC - Owns 81% of
                                    Riley Drive Entertainment XIX, LLC                           50          %            Unknown


                                    Riley Drive Entertainment 21, LLC                            31          %            Unknown


                                    Riley Drive Entertainment 24, Inc.                           50          %            Unknown


                                    MS Properties 1 LLC                                          50          %            Unknown


Official Form 106A/B                                             Schedule A/B: Property                                        page 4
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Debtor 1        Marc A. Mundt                                                                           Case number (if known)


                                          MS Properties 2 LLC                                                  50        %                  Unknown


                                          White Sand Investments, LLC                                          50        %                  Unknown


                                          Riley Drive Entertainment XIII                                       50        %                  Unknown


                                          Riley Drive Entertainment XII                                        50        %                  Unknown


                                          Riley Drive Entertainment XVIII                                      50        %                  Unknown


                                          Riley Drive Entertainment XIV                                        50        %                  Unknown


                                          Riley Drive Entertainment 23                                         50        %                  Unknown


                                          Tonic West Des Moines, LLC                                           40        %                  Unknown


                                          Press Roll Rereroll, LLC                                             50        %                  Unknown


                                          RS Iowa, LLC                                                        100        %                  Unknown


                                          Beaverdale Tap, LLC                                                  25        %                  Unknown


                                          Saints Waukee, LLC                                                   40        %                  Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                        Institution name:

                                       Roth IRA                       Principal Financial                                                 $198,164.31


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                      Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
Official Form 106A/B                                              Schedule A/B: Property                                                        page 5
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Debtor 1      Marc A. Mundt                                                                          Case number (if known)

   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                           Ameriprise Financial - Children as Beneficiaries                                                                       $7,000.00


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                2022 Taxes                                                 Federal, State                         Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No

Official Form 106A/B                                          Schedule A/B: Property                                                                    page 6
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Debtor 1         Marc A. Mundt                                                                                                         Case number (if known)

       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
       Yes. Give specific information..

                                                            Coinbase Account - XRP (trading suspended on XRP)                                                                $2,313.01


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................             $208,264.58


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................              $475,460.00
56. Part 2: Total vehicles, line 5                                                                          $53,382.00
57. Part 3: Total personal and household items, line 15                                                      $5,300.00
58. Part 4: Total financial assets, line 36                                                                $208,264.58
59. Part 5: Total business-related property, line 45                                                             $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
61. Part 7: Total other property not listed, line 54                                             +               $0.00

62. Total personal property. Add lines 56 through 61...                                                    $266,946.58               Copy personal property total         $266,946.58

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $742,406.58




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 7
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Fill in this information to identify your case:

Debtor 1               Marc A. Mundt
                       First Name                    Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     610 Reed Ct. West Des Moines, IA                       $475,460.00                               $336,066.00      Iowa Code §§ 561.2, 561.16,
     50266 Dallas County                                                                                               499A.18
     Property assessed by Dallas County                                            100% of fair market value, up to
     Assessor at $475,460                                                          any applicable statutory limit
     Line from Schedule A/B: 1.1

     2022 Ford Explorer 2000 miles                            $53,382.00                                 $5,577.66     Iowa Code § 627.6(9)
     Line from Schedule A/B: 3.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Household goods, appliances,                              $3,000.00                                 $3,000.00     Iowa Code § 627.6(5)
     furniture, miscellaneous
     Line from Schedule A/B: 6.1                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Computer, phone, additional devices                       $1,500.00                                 $1,500.00     Iowa Code § 627.6(5)
     Line from Schedule A/B: 7.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Handgun - Public Defender                                     $300.00                                 $300.00     Iowa Code § 627.6(14)
     Line from Schedule A/B: 10.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit


Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 1    Marc A. Mundt                                                                      Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Men's Attire                                               $500.00                                   $500.00        Iowa Code § 627.6(5)
    Line from Schedule A/B: 11.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: People's Bank                                    $738.77                                   $700.00        Iowa Code § 627.6(14)
    Line from Schedule A/B: 17.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Roth IRA: Principal Financial                        $198,164.31                                $198,164.31         Iowa Code § 627.6(8)(e) & (f)
    Line from Schedule A/B: 21.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Ameriprise Financial - Children as                      $7,000.00                                  $7,000.00        Iowa Code § 627.6(8)(e) & (f)
    Beneficiaries
    Line from Schedule A/B: 24.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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Fill in this information to identify your case:

Debtor 1                   Marc A. Mundt
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Ford Motor Credit
2.1                                                                                                            $47,804.34               $53,382.00                     $0.00
        Company                                  Describe the property that secures the claim:
        Creditor's Name                          2022 Ford Explorer 2000 miles

                                                 As of the date you file, the claim is: Check all that
        One American Road                        apply.
        Dearborn, MI 48126                           Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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Debtor 1 Marc A. Mundt                                                                                       Case number (if known)
              First Name                  Middle Name                      Last Name


        Iowa Bankers Mortgage
2.2                                                Describe the property that secures the claim:                   $139,394.00                $475,460.00              $0.00
        Corp
        Creditor's Name                            610 Reed Ct. West Des Moines, IA
                                                   50266 Dallas County
                                                   Property assessed by Dallas County
        8800 NW 62nd Ave.                          Assessor at $475,460
                                                   As of the date you file, the claim is: Check all that
        PO Box 6220                                apply.
        Johnston, IA 50131                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                         car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Mortgage
      community debt

Date debt was incurred                                      Last 4 digits of account number



  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $187,198.34
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $187,198.34

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Ford Motor Credit Company
           PO Box 650574                                                                             Last 4 digits of account number
           Dallas, TX 75265




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 2
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Fill in this information to identify your case:

Debtor 1                     Marc A. Mundt
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Internal Revenue Service                            Last 4 digits of account number                            Unknown                  $0.00                 $0.00
             Priority Creditor's Name
             Centralized Insolvency Operation                    When was the debt incurred?
             PO Box 7346
             Philadelphia, PA 19101
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 24
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2.2       Iowa Department of Revenue                           Last 4 digits of account number                      $100,000.00     $100,000.00                   $0.00
          Priority Creditor's Name
          1305 E Walnut St.                                    When was the debt incurred?
          Fourth Floor
          Des Moines, IA 50319
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
          Debtor 1 only                                            Unliquidated
          Debtor 2 only                                            Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

          At least one of the debtors and another                  Domestic support obligations

          Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
          No                                                       Other. Specify
          Yes                                                                       Sales tax debt

2.3       Kansas Department of Revnue                          Last 4 digits of account number                         Unknown               $0.00                $0.00
          Priority Creditor's Name
          PO Box 3506                                          When was the debt incurred?
          Topeka, KS 66625
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
          Debtor 1 only                                            Unliquidated
          Debtor 2 only                                            Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

          At least one of the debtors and another                  Domestic support obligations

          Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
          No                                                       Other. Specify
          Yes                                                                       Sales tax debt

2.4       Missouri Department of Revenue                       Last 4 digits of account number                       $20,000.00              $0.00        $20,000.00
          Priority Creditor's Name
          Harry S. Truman State Office                         When was the debt incurred?
          Building
          301 West High Street
          Jefferson City, MO 65101
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
          Debtor 1 only                                            Unliquidated
          Debtor 2 only                                            Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

          At least one of the debtors and another                  Domestic support obligations

          Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
          No                                                       Other. Specify
          Yes                                                                       Sales tax debt


Part 2:      List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority


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      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        10 Quivira Plaza 14 A, LLC                                Last 4 digits of account number                                                                     Unknown
           Nonpriority Creditor's Name
           c/o Jonah Lock                                            When was the debt incurred?
           105 East 5th Street, Suite 500
           Kansas City, MO 64106
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


4.2        Affirm Loan Services                                      Last 4 digits of account number         0K34                                                        $3,022.76
           Nonpriority Creditor's Name
           650 California St.                                        When was the debt incurred?             12/29/2021
           San Francisco, CA 94108
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Peloton


4.3        American Express Business                                 Last 4 digits of account number         1004                                                      $33,276.05
           Nonpriority Creditor's Name
           PO Box 0001                                               When was the debt incurred?             Since 2010
           c/o Rausch Sturm, LLP
           Los Angeles, CA 90096
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Debt




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4.4      American Express National Bank                      Last 4 digits of account number                                                      $86,032.28
         Nonpriority Creditor's Name
                                                             When was the debt incurred?

         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Saints Pub Patio Waukee debt (no believed
             Yes                                                Other. Specify   personal liability)


4.5      Amur Equipment Finance, Inc.                        Last 4 digits of account number       6030                                           $13,133.18
         Nonpriority Creditor's Name
         308 N. Locust Street, Suite 100                     When was the debt incurred?
         Grand Island, NE 68801
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.6      Blue Ridge Bank & Trust Co.                         Last 4 digits of account number       3626                                          $226,700.39
         Nonpriority Creditor's Name
         4200 Little Blue Parkway                            When was the debt incurred?           August 12, 2015
         Independence, MO 64057
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business Debt - Guarantee




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4.7      Blue Ridge Bank & Trust Co.                         Last 4 digits of account number       6561                                          $466,041.53
         Nonpriority Creditor's Name
         4200 Little Blue Parkway                            When was the debt incurred?           September 16, 2014
         Independence, MO 64057
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business Debt - Guarantee


4.8      Business Capital Providers, Inc.                    Last 4 digits of account number                                                     $184,600.00
         Nonpriority Creditor's Name
         4225 Fidus Dr                                       When was the debt incurred?
         Suite 207
         Las Vegas, NV 89103
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Petition filed in Broward County, FL Case
             Yes                                                Other. Specify   #CACE-19-018578


4.9      Cast Capital Funding                                Last 4 digits of account number                                                     $127,860.00
         Nonpriority Creditor's Name
         2125 Center Ave.                                    When was the debt incurred?
         Fort Lee, NJ 07024
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in New York
                                                                                 transcribed to Dallas County, IA; Case
             Yes                                                Other. Specify   #CVCV042078




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4.1
0        Central Bank                                        Last 4 digits of account number                                                      $51,069.85
         Nonpriority Creditor's Name
         3800 100th St.                                      When was the debt incurred?
         Urbandale, IA 50322
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business debt - Credit Card ending in 7545


4.1
1        Citi Costco                                         Last 4 digits of account number       1678                                           $14,425.84
         Nonpriority Creditor's Name
         PO Box 6500                                         When was the debt incurred?           Over last three years
         Sioux Falls, SD 57117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card debt


4.1
2        D.R.A. Properties, L.C.                             Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         1525 NE 36th Street                                 When was the debt incurred?
         Ankeny, IA 50021
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.1
3        Discover Card                                       Last 4 digits of account number       2062                                            $9,763.57
         Nonpriority Creditor's Name
         PO Box 6103                                         When was the debt incurred?
         Carol Stream, IL 60197
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card debt


4.1
4        Eagles Sign Company                                 Last 4 digits of account number                                                       $4,160.04
         Nonpriority Creditor's Name
         605 SW 37th Street                                  When was the debt incurred?           October 2019
         Grimes, IA 50111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.1
5        Forward Financing, LLC                              Last 4 digits of account number       2859                                           $27,188.00
         Nonpriority Creditor's Name
         100 Summer Street                                   When was the debt incurred?
         Suite 1175
         Boston, MA 02110
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Petition filed in Polk County, IA Case
             Yes                                                Other. Specify   #CVCV059492




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4.1
6        Fox Capital Group, Inc.                             Last 4 digits of account number                                                     $405,000.00
         Nonpriority Creditor's Name
         65 Broadway, Suite 804                              When was the debt incurred?
         New York, NY 10006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business Debt


4.1
7        General Service Bureau                              Last 4 digits of account number       1526                                             $631.86
         Nonpriority Creditor's Name
         10303 Crown Point Ave.                              When was the debt incurred?
         Ste. 210
         Omaha, NE 68134
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MercyOne Des Moines Medical Center debt


4.1
8        GM Financing                                        Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
                                                             When was the debt incurred?

         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Guarantor is signer for loan for 2018 Chevy
             Yes                                                Other. Specify   Silverado




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4.1
9        Great Western Bank                                  Last 4 digits of account number                                                     $186,128.10
         Nonpriority Creditor's Name
         10101 University Ave                                When was the debt incurred?           December 3, 2018
         Clive, IA 50325
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgemnt entered in Polk County, IA Case
             Yes                                                Other. Specify   #LACL145837


4.2
0        Heartland Buisness Capital                          Last 4 digits of account number                                                     $350,000.00
         Nonpriority Creditor's Name
         8900 Indian Creek Parkway                           When was the debt incurred?
         Overland Park, KS 66210
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business Debt - Guarantee


4.2
1        Itria Ventures LLC                                  Last 4 digits of account number                                                     $158,150.60
         Nonpriority Creditor's Name
         13160 Foster St.                                    When was the debt incurred?
         Suite 100
         Overland Park, KS 66213
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in New York
                                                                                 transcribed to Dallas County, IA. Case
                                                                                 #CVCV041944; Also transcribed to Jackson
             Yes                                                Other. Specify   County, MO Case #1916-CV31932


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4.2
2        Itria Ventures, LLC                                 Last 4 digits of account number                                                     $245,414.32
         Nonpriority Creditor's Name
         13160 Foster St                                     When was the debt incurred?
         Suite 100
         Overland Park, KS 66213
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in New York
                                                                                 transcribed to Dallas County, IA Case
                                                                                 #CVCV41945 and
             Yes                                                Other. Specify   Jackson County, MO Case #2016-CV00305


4.2
3        Itria Ventures, LLC                                 Last 4 digits of account number                                                     $147,292.75
         Nonpriority Creditor's Name
         13160 Foster St                                     When was the debt incurred?
         Suite 100
         Overland Park, KS 66213
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in New York
                                                                                 transcribed to Dallas County, IA Case
             Yes                                                Other. Specify   #CVCV041943




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4.2
4        Itria Ventures, LLC                                 Last 4 digits of account number                                                     $180,216.27
         Nonpriority Creditor's Name
         13160 Foster St                                     When was the debt incurred?
         Suite 100
         Overland Park, KS 66213
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in New York
                                                                                 transcribed to Dallas County, Iowa Case
                                                                                 #TJLN006880
                                                                                 Also transcribed to Polk County, IA Case
                                                                                 #CVCV058780
                                                                                 Also transcribed to Jackson County, MO
             Yes                                                Other. Specify   Case #1916-CV32969


4.2
5        Itria Ventures, LLC                                 Last 4 digits of account number                                                     $144,443.71
         Nonpriority Creditor's Name
         13160 Foster St                                     When was the debt incurred?
         Suite 100
         Overland Park, KS 66213
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in New York
                                                                                 transcribed to Dallas County, IA; Case
                                                                                 #TJLN006881
                                                                                 Also transcribed to Polk County, IA Case
             Yes                                                Other. Specify   #CVCV058778




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Debtor 1 Marc A. Mundt                                                                           Case number (if known)

4.2
6        Jordan Creek Town Center                            Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         101 Jordan Creek Parkway                            When was the debt incurred?
         West Des Moines, IA 50266
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Guarantee Signer on Union 29 lease


4.2
7        Knight Capital                                      Last 4 digits of account number                                                      $27,316.00
         Nonpriority Creditor's Name
         9 E. Loockerman Street                              When was the debt incurred?
         Suite 202-543
         Dover, DE 19901
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
8        Lana Jones-Gould                                    Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         13669 Bay Hill Dr.                                  When was the debt incurred?
         Clive, IA 50325
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Mother-in-law loan




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Debtor 1 Marc A. Mundt                                                                           Case number (if known)

4.2
9        Landmark National Bank                              Last 4 digits of account number                                                     $700,000.00
         Nonpriority Creditor's Name
         8101 W. 135th St                                    When was the debt incurred?
         Overland Park, KS 66223
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
0        Leasing Innovations, Inc.                           Last 4 digits of account number                                                    $1,054,886.85
         Nonpriority Creditor's Name
         261 N. Highway 101                                  When was the debt incurred?           April 10, 2018
         Solana Beach, CA 92075
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment entered in Polk County, IA Case
             Yes                                                Other. Specify   #LACL146359


4.3
1        Marlin Business Bank                                Last 4 digits of account number                                                      $26,667.00
         Nonpriority Creditor's Name
         2795 E Cottonwood Pkwy                              When was the debt incurred?
         #120
         Salt Lake City, UT 84121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Complaint filed in Salt Lake County, Utah
             Yes                                                Other. Specify   Case #209900662




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4.3
2        MRES West Glen Holdings, LP                         Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         c/o OMNE Partners                                   When was the debt incurred?
         13340 California Street, Suite 100
         Omaha, NE 68154
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
3        OakStar Bank                                        Last 4 digits of account number                                                    $2,827,796.00
         Nonpriority Creditor's Name
         1020 E. Battlefield                                 When was the debt incurred?
         Springfield, MO 65807
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business Debt - Guarantee


4.3
4        On Deck Capital, Inc.                               Last 4 digits of account number                                                      $61,147.19
         Nonpriority Creditor's Name
         1400 Broadway                                       When was the debt incurred?
         New York, NY 10018
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business Debt




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4.3
5        Pawnee Leasing Company                              Last 4 digits of account number                                                       $8,000.00
         Nonpriority Creditor's Name
         3801 Automation Way Suite 207                       When was the debt incurred?           June 1, 2017
         Fort Collins, CO 80525
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Petition filed in Larimer County, CO Case #
             Yes                                                Other. Specify   Unknown


4.3
6        Presto X (R)                                        Last 4 digits of account number                                                       $1,355.94
         Nonpriority Creditor's Name
         1320 Northeast 60th Ave.                            When was the debt incurred?
         Des Moines, IA 50313
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
7        Rapid Finance                                       Last 4 digits of account number                                                     $130,207.40
         Nonpriority Creditor's Name
         4500 East West Highway                              When was the debt incurred?
         6th Floor
         Bethesda, MD 20814
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.3
8        Roanoke Development LLC                             Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         3615 N. 120th Street                                When was the debt incurred?
         Omaha, NE 68164
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
9        Simply Funding                                      Last 4 digits of account number                                                     $113,571.60
         Nonpriority Creditor's Name
         45 Broadway                                         When was the debt incurred?
         Suite 2450
         New York, NY 10006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in New York
                                                                                 transcribed to Dallas County, IA; Case
             Yes                                                Other. Specify   #CVCV058730


4.4
0        Simply Funding                                      Last 4 digits of account number                                                      $95,025.74
         Nonpriority Creditor's Name
         45 Broadway                                         When was the debt incurred?
         Suite 2450
         New York, NY 10006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in New York Case
             Yes                                                Other. Specify   #E2019-0802CV


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4.4      Small Business Financial Solutions,
1        LLC                                                 Last 4 digits of account number                                                     $126,303.00
         Nonpriority Creditor's Name
         4500 East West Highway, 6th Floor                   When was the debt incurred?
         Bethesda, MD 20814
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Petition filed in Montgomery County, MD.
             Yes                                                Other. Specify   Case #470251-V


4.4
2        Susquehanna Salt Lake LLC                           Last 4 digits of account number                                                      $87,217.91
         Nonpriority Creditor's Name
         136 E South Temple                                  When was the debt incurred?
         Suite 1400
         Salt Lake City, UT 84111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in Utah Case
                                                                                 #190905262 transcribed to Dallas County,
             Yes                                                Other. Specify   IA; Case #CVCV042159




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4.4
3        Susquehanna Salt Lake LLC                           Last 4 digits of account number                                                      $86,761.39
         Nonpriority Creditor's Name
         136 E South Temple                                  When was the debt incurred?
         Suite 1400
         Salt Lake City, UT 84111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in Utah transcribed to
             Yes                                                Other. Specify   Dallas County, IA; Case #CVCV042156


4.4
4        Susquehanna Salt Lake LLC                           Last 4 digits of account number                                                     $133,360.15
         Nonpriority Creditor's Name
         136 E South Temple                                  When was the debt incurred?
         Suite 1400
         Salt Lake City, UT 84111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt - Guarantee
                                                                                 Judgment Awarded in Utah transcribed to
             Yes                                                Other. Specify   Dallas County, IA; Case #CVCV042142


4.4
5        U.S. Department of the Treasury                     Last 4 digits of account number                                                     $349,348.97
         Nonpriority Creditor's Name
         Attn: AWG Analyst                                   When was the debt incurred?
         PO Box 830794
         Birmingham, AL 35283
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   SBA Debt - Case # L38778500


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4.4
6        UnityPoint Health                                   Last 4 digits of account number                                                        $910.00
         Nonpriority Creditor's Name
         1776 West Lakes Pkwy. Suite 400                     When was the debt incurred?
         West Des Moines, IA 50266
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical Debt


4.4
7        Urban Town Center, LLC                              Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         c/o Signautre Real Estate                           When was the debt incurred?
         9500 University Avenue, Suite 2112
         West Des Moines, IA 50266
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify



4.4      Vista Real Estate & Investment
8        Corp                                                Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         2400 86th Street, Suite 24                          When was the debt incurred?
         Urbandale, IA 50322
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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Debtor 1 Marc A. Mundt                                                                             Case number (if known)

4.4
9         Wells Fargo                                          Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
                                                               When was the debt incurred?

          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Guarantor is signer for loan for 2014 Chevy
             Yes                                                  Other. Specify   Silverado


4.5
0         West Bank                                            Last 4 digits of account number       4018                                                 $202,343.61
          Nonpriority Creditor's Name
          1601 22nd Street                                     When was the debt incurred?           October 4, 2018
          Suite 24
          Urbandale, IA 50322
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Business Debt - Guarantee
                                                                                   Petition filed in Polk County, IA Case
             Yes                                                  Other. Specify   #LACL146393

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Brady Keith                                              Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
13160 Foster Street, Ste. 100                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Overland Park, KS 66213
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Brady Keith                                              Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Southlaw, P.C.                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
13160 Foster St., Ste 100
Overland Park, KS 66213
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Brady Keith                                              Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
13160 Foster Street, Ste. 100                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Overland Park, KS 66213
                                                         Last 4 digits of account number


Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 20 of 24
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Debtor 1 Marc A. Mundt                                                             Case number (if known)

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
C. Anthony Crnic                         Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
The Sayer Law Group                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
925 E. 4th St
Waterloo, IA 50703
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Carl E. Zapffe, Esq                      Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Zwicker & Associates, PC                                                            Part 2: Creditors with Nonpriority Unsecured Claims
1551 South Washington Ave., Suite
404
Piscataway, NJ 08854
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Client Services, Inc.                    Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
3451 Harry S. Truman Blvd.                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Saint Charles, MO 63301
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Delta Management Group                   Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
2499 Rice Street, Ste. 245                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Saint Paul, MN 55113
                                         Last 4 digits of account number                  6030

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
FirstSource Advantage, LLC               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
205 Bryant Woods South                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Amherst, NY 14228
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Harry L. Simon, Esq                      Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Harry L. Simon, P.C.                                                                Part 2: Creditors with Nonpriority Unsecured Claims
10200 East Girard Avenue
Building B, Suite 120
Denver, CO 80231
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Hauge Associates                         Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
2320 W 49th St.                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Sioux Falls, SD 57105
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Jason D. Bahnsen                         Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Southlaw P.C.                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
1401 50th St., Ste. 100
West Des Moines, IA 50266
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Jason D. Bahnsen                         Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Southlaw                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
1401 50th Street, Ste. 100
West Des Moines, IA 50266
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Jason D. Bahnsen                         Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Southlaw, P.C.                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
1401 50th Street, Ste. 100
West Des Moines, IA 50266
                                         Last 4 digits of account number



Official Form 106 E/F               Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 21 of 24
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Debtor 1 Marc A. Mundt                                                           Case number (if known)

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Jason D. Bahnsen                      Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Southlaw, P.C.                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
1401 50th Street, Ste. 100
West Des Moines, IA 50266
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Jason D. Bahnsen                      Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Southlaw, P.C.                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
1401 50th Street, Ste. 100
West Des Moines, IA 50266
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Jonathan Kramer                       Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
699 Walnut Street, Suite 200                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Des Moines, IA 50309
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Jonathan S. Gitlin                    Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
462 Seventh Avenue, 20th Floor                                                     Part 2: Creditors with Nonpriority Unsecured Claims
New York, NY 10018
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Jonathan S. Gitlin, Esq.              Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
462 Seventh Ave., 20th Floor                                                       Part 2: Creditors with Nonpriority Unsecured Claims
New York, NY 10018
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Jonathan S. Gitlin, Esq.              Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
462 Seventh Ave, 20th Floor                                                        Part 2: Creditors with Nonpriority Unsecured Claims
New York, NY 10018
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Jonathan S. Gitlin, Esq.              Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
462 Seventh Avenue, 20th Floor                                                     Part 2: Creditors with Nonpriority Unsecured Claims
New York, NY 10018
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Kenneth P. Nelson                     Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Shannon D. Simms                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
3112 Brockway Rd.
PO Box 1020
Waterloo, IA 50704
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Kenneth P. Nelson                     Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Shannon D. Simms                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
3112 Brockway Rd.
PO Box 1020
Waterloo, IA 50704
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Kenneth P. Nelson                     Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Shannon D. Simms                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
3112 Brockway Rd.
PO Box 1020
Waterloo, IA 50704
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 E/F            Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 22 of 24
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Debtor 1 Marc A. Mundt                                                              Case number (if known)

Mark Swan                                 Line 4.31 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
Strong & Hanni, P.C.                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
9350 South 150 East, Ste. 820
Sandy, UT 84070
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
MercyOne Des Moines Medical               Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Center                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 1259
Dept # 141529
Oaks, PA 19456
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Michael Enroughty                         Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
4500 East West Highway, 6th Floor                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Bethesda, MD 20814
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Nelson Law Firm                           Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
3112 Brockway Rd.                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Waterloo, IA 50701
                                          Last 4 digits of account number                  1650

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Phoenix Financial Services                Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
8902 Otis Ave                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
STE 103A
Indianapolis, IN 46216
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Rhett A. Frimet                           Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
10 East 40th Street, 46th Floor                                                      Part 2: Creditors with Nonpriority Unsecured Claims
New York, NY 10016
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Stephen B. Elggren PC                     Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 709598                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Sandy, UT 84070
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Thomas H. Burke                           Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Molly M. Brown                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Whitfield & Eddy, P.L.C.
699 Walnut Street, Suite 2000
Des Moines, IA 50309
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Timothy J. Jacobs                         Line 4.50 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Abbot Osborn Jacobs PLC                                                              Part 2: Creditors with Nonpriority Unsecured Claims
974 73rd Street, Ste. 16
West Des Moines, IA 50265
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Timothy Jacobs                            Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
974 73rd Street, Ste. 20                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Windsor Heights, IA 50324
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
U.S. Small Business Administration        Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
210 Walnut St.
Official Form 106 E/F                Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 23 of 24
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Debtor 1 Marc A. Mundt                                                                                  Case number (if known)

Rm. 749                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Des Moines, IA 50309
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
United Collection Bureau                                     Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
5620 Southwyck Blvd.                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Toledo, OH 43614
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
William M. Reasoner                                          Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Mollie Pawlosky                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Dickinson Mackaman, Tyler &
Hagen, P.C.
699 Walnut St., Ste. 1600
Des Moines, IA 50309
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                  120,000.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                  120,000.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                9,096,769.85

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                9,096,769.85




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 24 of 24
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Fill in this information to identify your case:

Debtor 1                  Marc A. Mundt
                          First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Marc A. Mundt
                           First Name                            Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                            Middle Name        Last Name


United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

   3.1                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




   3.2                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Marc A. Mundt

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF IOWA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Saints Pub + Patio

       Occupation may include student        Employer's address
                                                                   87 NE Carefree Ln.
       or homemaker, if it applies.
                                                                   Waukee, IA 50263

                                             How long employed there?         8 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        5,000.02      $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,000.02            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Marc A. Mundt                                                                         Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      5,000.02       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,172.49       $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $               N/A
     5e.    Insurance                                                                     5e.        $          0.00       $               N/A
     5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
     5g.    Union dues                                                                    5g.        $          0.00       $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,172.49       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,827.53       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                   N/A
     8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
     8h. Other monthly income. Specify: Beaver Tap Distributions                          8h.+ $            1,253.54 + $                   N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,253.54       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              5,081.07 + $           N/A = $          5,081.07
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         5,081.07
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                 Marc A. Mundt                                                                     Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF IOWA                                                  MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  5                    Yes
                                                                                                                                             No
                                                                                   Son                                  9                    Yes
                                                                                                                                             No
                                                                                   Daughter                             19                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,802.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Marc A. Mundt                                                                             Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 175.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  60.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                  0.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 25.00
10.   Personal care products and services                                                    10. $                                                  25.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                    0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                    0.00
14.   Charitable contributions and religious donations                                       14. $                                                    0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  150.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  836.87
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                              1,000.00
19.   Other payments you make to support others who do not live with you.                         $                                                 0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,073.87
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,073.87
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,081.07
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,073.87

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    7.20

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Marc A. Mundt
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Marc A. Mundt                                                 X
             Marc A. Mundt                                                     Signature of Debtor 2
             Signature of Debtor 1

             Date       December 2, 2022                                       Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Marc A. Mundt
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $69,073.74           Wages, commissions,
the date you filed for bankruptcy:                                                                            bonuses, tips
                                               bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Debtor 1     Marc A. Mundt                                                                             Case number (if known)



                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income           Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                                exclusions)                                                and exclusions)

For last calendar year:                            Wages, commissions,                      $60,000.00           Wages, commissions,
(January 1 to December 31, 2021 )                                                                              bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


                                                   Wages, commissions,                       $-9,857.00          Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


For the calendar year before that:                 Wages, commissions,                      $60,000.00           Wages, commissions,
(January 1 to December 31, 2020 )                                                                              bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


                                                   Wages, commissions,                    $-120,302.00           Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income           Gross income
                                                Describe below.                 each source                    Describe below.             (before deductions
                                                                                (before deductions and                                     and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.




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Debtor 1     Marc A. Mundt                                                                         Case number (if known)



      Creditor's Name and Address                      Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                             paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                       Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                             paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                       Nature of the case           Court or agency                         Status of the case
      Case number
      Forward Financing, LLC v. Riley                  Civil                        Iowa District Court for Polk               Pending
      Drive Entertainment 22, Inc., et al                                           County                                     On appeal
      CVCV059492                                                                    500 Mulberry
                                                                                                                               Concluded
                                                                                    Des Moines, IA 50309
                                                                                                                            Business Debt - Guarantee

      Business Capital Providers, Inc v.               Civil                        17th Judicial Circuit for                  Pending
      RDCM, LLC, et al                                                              Broward Co. FL                             On appeal
      CACE-19-018578                                                                Broward County Court
                                                                                                                               Concluded
                                                                                    201 SE ^th Street
                                                                                    Fort Lauderdale, FL 33301
                                                                                                                            Business Debt - Guarantee

      Cast Capital Funding v. Marc                     Civil                        Iowa District Court for                    Pending
      Andrew Mundt, et al                                                           Dallas County                              On appeal
      CVCV042078                                                                    801 Court St.
                                                                                                                               Concluded
                                                                                    Adel, IA 50003
                                                                                                                            Business Debt - Guarantee;
                                                                                                                            Judgment awareded in NY,
                                                                                                                            transcribed to Dallas
                                                                                                                            County Case #CVCV042078
                                                                                                                            in the amount $136,994.58




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Debtor 1     Marc A. Mundt                                                                    Case number (if known)



      Case title                                  Nature of the case           Court or agency                         Status of the case
      Case number
      Great Western Bank v Riley Drive            Civil                        Iowa District Court for Polk               Pending
      Entertainment                                                            County                                     On appeal
      LACL145837                                                               Polk County Courthouse
                                                                                                                          Concluded
                                                                               500 Mulberry
                                                                               Des Moines, IA 50309
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in
                                                                                                                       amount of $186,128.10

      Itria Ventures, LLC v. Johnny J.            Civil                        Iowa District Court for                    Pending
      Robb, et al                                                              Dallas County                              On appeal
      CVCV041944                                                               Dallas County Courthouse
                                                                                                                          Concluded
                                                                               801 Court St.
                                                                               Adel, IA 50003
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York Case #512784/2019,
                                                                                                                       transcribed to Dallas Co.
                                                                                                                       Case #CVCV041944 and
                                                                                                                       Jackson Co. MO Case
                                                                                                                       #1916-CV31932 in the
                                                                                                                       amount of $158,150.60

      Itria Ventures, LLC v. Riley Drive          Civil                        Circuit Court of Jackson                   Pending
      Entertainment XVI, et al                                                 County, MO                                 On appeal
      1916-CV31932                                                             415 E 12th
                                                                                                                          Concluded
                                                                               Suite 300
                                                                               Kansas City, MO 64106
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered New
                                                                                                                       York Case #512784/2019
                                                                                                                       and transcribed to Jackson
                                                                                                                       Co. MO in amount of
                                                                                                                       $158,150.60

      Itria Ventures, LLC v. Riley Drive          Civil                        Iowa District Court for                    Pending
      Entertainment I, Inc., et al                                             Dallas County                              On appeal
      CVCV041945                                                               Dallas County Courthouse
                                                                                                                          Concluded
                                                                               801 Court St.
                                                                               Adel, IA 50003
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York Case #512783/2019
                                                                                                                       and transcribed to Dallas
                                                                                                                       County in the amount of
                                                                                                                       $245,414.32

      Itria Ventures LLC v. Riley Drive           Civil                        Circuit Court of Jackson                   Pending
      Entertainment I, Inc., et al                                             County MO                                  On appeal
      2016-CV00305                                                             415 E 12th
                                                                                                                          Concluded
                                                                               Suite 30
                                                                               Kansas City, MO 64106
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Jackson County, MO in the
                                                                                                                       amount of $245,414.32




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Debtor 1     Marc A. Mundt                                                                    Case number (if known)



      Case title                                  Nature of the case           Court or agency                         Status of the case
      Case number
      Itria Ventures, LLC v. Riley Drive          Civil                        Iowa District Court for                    Pending
      Entertainment XV, Inc., et al                                            Dallas County                              On appeal
      CVCV041943                                                               Dallas County Courthouse
                                                                                                                          Concluded
                                                                               801 Court St.
                                                                               Adel, IA 50003
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York Case #512778/2019
                                                                                                                       and transcribed to Dallas
                                                                                                                       County Case #CVCV041943
                                                                                                                       in the amount of
                                                                                                                       $147,292.75

      Itria Ventures LLC v. MS Properties         Civil                        Iowa District Court for                    Pending
      1 LLC, et al                                                             Dallas County                              On appeal
      TJLN006880                                                               801 Court St.
                                                                                                                          Concluded
                                                                               Adel, IA 50003
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York Case #512785/2019
                                                                                                                       and transcribed to Dallas
                                                                                                                       County Case in the amount
                                                                                                                       of $180,216.27

      Itria Ventures LLC v. Riley Drive           Civil                        Iowa District Court for Polk               Pending
      Entertainment X LLC, et al                                               County                                     On appeal
      CVCV058780                                                               Polk County Courthouse
                                                                                                                          Concluded
                                                                               500 Mulberry
                                                                               Des Moines, IA 50309
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Polk County in the amount
                                                                                                                       of $180,216.27

      Itria Ventures LLC v. Riley Drive           Civil                        Circuit Court of Jackson                   Pending
      Entertainment V, Inc., et al                                             County Mo                                  On appeal
      1916-CV32969                                                             415 E 12th
                                                                                                                          Concluded
                                                                               Suite 300
                                                                               Kansas City, MO 64106
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       JacksonCounty in the
                                                                                                                       amount of $180,216.27

      Itria Ventures LLC v. Riley Drive           Civil                        Iowa District Court For                    Pending
      Entertainment XV, Inc., et al                                            Dallas County                              On appeal
      TJLN006881                                                               Polk County Courthouse
                                                                                                                          Concluded
                                                                               500 Mulberry
                                                                               Des Moines, IA 50309
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Dallas County in the
                                                                                                                       amount of $144,443.71




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Debtor 1     Marc A. Mundt                                                                    Case number (if known)



      Case title                                  Nature of the case           Court or agency                         Status of the case
      Case number
      Itria Ventures LLC v. Riley Drive           Civil                        Iowa District Court for Polk               Pending
      Entertainment V Inc., et al                                              County                                     On appeal
      CVCV058778                                                               Polk County Courthouse
                                                                                                                          Concluded
                                                                               500 Mulberry
                                                                               Des Moines, IA 50309
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Polk County in the amount
                                                                                                                       of $144,443.71

      Leasing Innovations, Inc. v.                Civil                        Iowa District Court for Polk               Pending
      Scottsdale Leasing, LLC, et al                                           County                                     On appeal
      LACL146359                                                               Polk County Courthouse
                                                                                                                          Concluded
                                                                               500 Mulberry
                                                                               Des Moines, IA 50309
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in Polk
                                                                                                                       County in the amount of
                                                                                                                       $1,054,886.85

      Marlin Business Bank v. Riley               Civil                        3rd District Court of Salt                 Pending
      Drive Entertainment X, LLC, et al                                        Lake Co., UT                               On appeal
      209900662                                                                3636 Constitution Blvd
                                                                                                                          Concluded
                                                                               Salt Lake City, UT 84119
                                                                                                                       Business Debt - Guarantee

      Pawnee Leasing Company v. Riley             Civil - Foreign              County Court, Larimer                      Pending
      Drive Entertainment XIX, LLC, et al         Judgment                     County, Colorado                           On appeal
      CVCV059843 (Polk, IA)                       transfered to Polk           201 La Porte Ave.
                                                                                                                          Concluded
                                                  County, IA.                  Suite 100
                                                                               Fort Collins, CO 80521
                                                                                                                       Business Debt - Guarantee

      Simply Funding, LLC v. Riley Drive          Civil                        Supreme Court of the State                 Pending
      Entertainment VII, et al                                                 of New York                                On appeal
      E2019-0802CV                                                             3 East JPulteney Square
                                                                                                                          Concluded
                                                                               Bath, NY 14810
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York in the amount of
                                                                                                                       $113,571.60

      Simply Funding, LLC v. Riley Drive          Civil                        Supreme Court New York,                    Pending
      Entertainment X, LLC et al                                               Steuben County                             On appeal
      E2019-0798CV                                                             3 East Pulteney Square
                                                                                                                          Concluded
                                                                               Bath, NY 14810
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York in the amount of
                                                                                                                       $95,025.74

      Small Business Financial                    Civil                        Circut Court for                           Pending
      Solutions, LLC v. Riley Drive                                            Montgomery Co. MD                          On appeal
      Entertainment 22, Inc., et al                                            50 Maryland Ave.
                                                                                                                          Concluded
      470251-V                                                                 Rockville, MD 20850
                                                                                                                       Business Debt - Guarantee;



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Debtor 1     Marc A. Mundt                                                                 Case number (if known)



      Case title                               Nature of the case           Court or agency                         Status of the case
      Case number
      Susquehanna Salt Lake, LLC v.            Civil                        3rd District Court of Salt                 Pending
      Riley Drive Entertainment XX Inc.                                     Lake Co., UT                               On appeal
      et al                                                                 3636 Constitution Blvd.                    Concluded
      190905011                                                             Salt Lake City, UT 84119
                                                                                                                    Business Debt - Guarantee;
                                                                                                                    Judgment transcribed to
                                                                                                                    Dallas Co. IA Case
                                                                                                                    #CVCV042156 in the
                                                                                                                    amount of $86,761.39

      Susquehanna Salt Lake LLC v.             Civil                        Iowa District Court for                    Pending
      Riley Drive Entertainment XX, et al                                   Dallas County                              On appeal
      CVCV042156                                                            801 Court St.
                                                                                                                       Concluded
                                                                            Adel, IA 50003
                                                                                                                    Business Debt - Guarantee;
                                                                                                                    Judgment entered in Salt
                                                                                                                    Lake Co. UT, Case
                                                                                                                    #190905011 and
                                                                                                                    transcribed to Dallas
                                                                                                                    County in the amount of
                                                                                                                    $86,761.39

      Susquehanna Salt Lake, LLC v.            Civil                        3rd District Court of Salt                 Pending
      Riley Drive Entertainment XIX, et al                                  Lake Co., UT                               On appeal
      190905261                                                             3636 Constitution Blvd.
                                                                                                                       Concluded
                                                                            Salt Lake City, UT 84119
                                                                                                                    Business Debt - Guarantee;
                                                                                                                    Judgment entered in Utah
                                                                                                                    and transcribed to Dallas
                                                                                                                    County Case #CVCV042142
                                                                                                                    in the amount of
                                                                                                                    $133,360.15

      Susquehanna Salt Lake LLC v.             Civil                        Iowa District Court for                    Pending
      Scott William Anderson                                                Dallas County                              On appeal
      CVCV042142                                                            801 Court St.
                                                                                                                       Concluded
                                                                            Adel, IA 50003
                                                                                                                    Business Debt - Guarantee;
                                                                                                                    Judgment entered in Salt
                                                                                                                    Lake Co. UT, Case
                                                                                                                    #190905261 and
                                                                                                                    transcribed to Dallas
                                                                                                                    County in the amount of
                                                                                                                    $133,360.15

      Susquehanna Salt Lake, LLC v.            Civil                        3rd District Court of Salt                 Pending
      Riley Drive Entertainment 22, et al                                   Lake Co. UT                                On appeal
      190905262                                                             3636 Constitution Blvd
                                                                                                                       Concluded
                                                                            Salt Lake City, UT 84119
                                                                                                                    Business Debt - Guarantee;
                                                                                                                    Judgment entered in Utah
                                                                                                                    and transcribed to Dallas
                                                                                                                    County Case #CVCV042159
                                                                                                                    in the amount of $87,217.91




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Debtor 1     Marc A. Mundt                                                                    Case number (if known)



      Case title                                  Nature of the case           Court or agency                         Status of the case
      Case number
      Susquehanna Salt Lake LLC v.                Civil                        Iowa District Court for                    Pending
      Riley Drive Entertainment 22, et al                                      Dallas County                              On appeal
      CVCV042159                                                               801 Court St.
                                                                                                                          Concluded
                                                                               Adel, IA 50003
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in Utah
                                                                                                                       and transcribed to Dallas
                                                                                                                       County IA Case
                                                                                                                       #CVCV042159 in the
                                                                                                                       amount of $87,217.91

      West Bank v. Riley Drive Funding I          Civil                        Iowa District Court of Polk                Pending
      LLC, et al                                                               County                                     On appeal
      LACL146393                                                               Polk County Courthouse
                                                                                                                          Concluded
                                                                               500 Mulberry
                                                                               Des Moines, IA 50309
                                                                                                                       Business Debt

      Cast Capital Funding v. Riley Drive         Civil                        Supreme Court of NY,                       Pending
      Entertainment VII, et al                                                 Westchester County                         On appeal
      59155/2019                                                               110 Dr. Martin Luther King
                                                                                                                          Concluded
                                                                               Jr Blvd
                                                                               White Plains, NY 10601
                                                                                                                       Judgment entered and
                                                                                                                       transcribed to Dallas
                                                                                                                       County Case #CVCV042078
                                                                                                                       in the amount of
                                                                                                                       $136,994.58

      Itria Ventures LLC v. Riley Drive           Civil                        Supreme Court of New York                  Pending
      Entertainment XVI, et al                                                 King County                                On appeal
      512784/2019                                                              360 Adams St.
                                                                                                                          Concluded
                                                                               Brooklyn, NY 11201
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Dallas County Case
                                                                                                                       #CVCV041944 in the
                                                                                                                       amount of $158,150.60

      Itria Ventures LLC v. Riley Drive           Civil                        Supreme Court of New                       Pending
      Entertainment et al                                                      York, Kings County                         On appeal
      512783/2019                                                              360 Adams Street
                                                                                                                          Concluded
                                                                               Brooklyn, NY 11201
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Dallas County, Case
                                                                                                                       #CVCV041945 and Jackson
                                                                                                                       Co MO Case
                                                                                                                       #2016-CV00305 in the
                                                                                                                       amount of $245,414.32




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Debtor 1     Marc A. Mundt                                                                    Case number (if known)



      Case title                                  Nature of the case           Court or agency                         Status of the case
      Case number
      Itria Ventures LLC v. Riley Drive           Civil                        Supreme Court of New                       Pending
      Entertainment XV, et al                                                  York, Kings County                         On appeal
      512778/2019                                                              360 Adams St.
                                                                                                                          Concluded
                                                                               Brooklyn, NY 11201
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Dallas County Case
                                                                                                                       #CVCV041943 in the
                                                                                                                       amount of $147,292.75

      Itria Ventures LLC v. Riley Drive           Civil                        Supreme Court of New                       Pending
      Entertainment V, et al                                                   York, Kings County                         On appeal
      512785/2019                                                              360 Adams Street
                                                                                                                          Concluded
                                                                               Brooklyn, NY 11201
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Dallas County IA Case
                                                                                                                       #TJLN006880 and Polk
                                                                                                                       County IA Case
                                                                                                                       #CVCV058780 and Jackson
                                                                                                                       County MO Case
                                                                                                                       #1916-CV32969 in the
                                                                                                                       amount of $180,216.27

      Itria Ventures LLC v. Riley Drive           Civil                        Supreme Court of New                       Pending
      Entertainment XV, et al                                                  York, Kings County                         On appeal
      512786/2019                                                              360 Adams St
                                                                                                                          Concluded
                                                                               Brooklyn, NY 11201
                                                                                                                       Business Debt - Guarantee;
                                                                                                                       Judgment entered in New
                                                                                                                       York and transcribed to
                                                                                                                       Dallas County IA Case
                                                                                                                       #TJLN006881 and Polk
                                                                                                                       County IA Case
                                                                                                                       #CCV058778 in the amount
                                                                                                                       of $144,443.71

      Brian Keasling v. Riley Drive               Civil                        Iowa District Court Polk                   Pending
      Entertainment V & Marc Mundt                                             County                                     On appeal
      SCSC639967                                                               Polk County Courthouse
                                                                                                                          Concluded
                                                                               500 Mulberry
                                                                               Des Moines, IA 50309
                                                                                                                       Defendant Marc Mundt is
                                                                                                                       released from the lawsuit.
                                                                                                                       Judgment found only
                                                                                                                       against Riley

      GreatAmerica v. Riley Drive Inc, et         Civil                        Iowa District Court for                    Pending
      al                                                                       Dallas County                              On appeal
      LACV041368                                                               Dallas County Courthouse
                                                                                                                          Concluded
                                                                               801 Court St.
                                                                               Adel, IA 50003
                                                                                                                       Case Dismissed.




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Debtor 1     Marc A. Mundt                                                                               Case number (if known)



      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number
      American Express National Bank v.                      No believed                  Supreme Court of the State                  Pending
      Riley Drive Entertainment XVI, Inc                     personal liability           of New York                                 On appeal
      dba Saints Pub Patio Waukee                                                         60 Centre St
                                                                                                                                      Concluded
      654887/2019                                                                         New York, NY 10007

      Itria Ventures, LLC v. Marc Mundt                      Civil                        District Court for Johnson                  Pending
      19CV04350                                                                           County Kansas                               On appeal
                                                                                          100 N Kansas Ave
                                                                                                                                      Concluded
                                                                                          Olathe, KS 66061

      West Bank v. Riley Drive Funding I                     Civil                        Iowa District Court for                     Pending
      LLC et al.                                                                          Dallas County                               On appeal
      LACV043606                                                                          801 Court St.
                                                                                                                                      Concluded
                                                                                          Adel, IA 50003
                                                                                                                                   Transcription of Judgment
                                                                                                                                   from LACL146393.
                                                                                                                                   Judgment entered in Polk
                                                                                                                                   County. Business debt.


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

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Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and         Describe any insurance coverage for the loss                       Date of your       Value of property
      how the loss occurred                                                                                         loss                            lost
                                                 Include the amount that insurance has paid. List pending
                                                 insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      CC Advising, Inc.                                    Credit Counseling                                        8/17/2022                     $9.76
      721 Washington Ave. Suite 305
      Bay City, MI 48708
      ccadvising.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or        Date transfer was
      Address                                              property transferred                       payments received or debts      made
                                                                                                      paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                        Description and value of the property transferred                          Date Transfer was
                                                                                                                                      made




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Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or           Date account was           Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                   closed, sold,          before closing or
      Code)                                                                                                              moved, or                       transfer
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?                 Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access                 Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                        have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                     Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you       Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you          Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                    Status of the
      Case Number                                                Name                                                                             case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                   Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed
      RD Group Management, Inc.                            Management Company                                    EIN:       XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                           From-To    8/7/2018 to Current

      RDCM LLC                                                                                                   EIN:       XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                           From-To    5/6/2018 to Current

      RDIP LLC                                                                                                   EIN:       XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                           From-To    8/8/2018 to Current

      Riley Drive, Inc.                                                                                          EIN:       XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                           From-To    7/20/2010 to Current

      Riley Drive Funding I LLC                                                                                  EIN:       XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                           From-To    6/8/2011 to Current

      Riley Drive Catering LLC                                                                                   EIN:       XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                           From-To    7/9/2018 to Current




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      Business Name                                        Describe the nature of the business               Employer Identification number
      Address                                                                                                Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                             Dates business existed
      Riley Drive Entertainment I, Inc.                                                                      EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      1/27/2005 to Current

      Riley Drive Entertainment IX, Inc.                                                                     EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      9/14/2011 to Current

      Riley Drive Entertainment V, Inc.                                                                      EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      7/29/2009 to Current

      Riley Drive Entertainment 22, Inc.                                                                     EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      7/17/2016 to Current

      Riley Drive Entertainment XX, Inc.                                                                     EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      6/3/2016 to Current

      Riley Drive Entertainment X, LLC                                                                       EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      7/30/2012 to Current

      Riley Drive Entertainment XV, Inc.                                                                     EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      5/22/2014 to Current

      Riley Drive Entertainment                                                                              EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      6/9/2014 to Current

      Riley Drive Entertainment XVII, LLC                                                                    EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      6/27/2014 - 6/29/2019

      Riley Drive Investments, LLC                                                                           EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      5/11/2016 to Current

      Riley Drive Entertainment 21, LLC                                                                      EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      5/14/2018 to Current

      Riley Drive Entertainment 24, Inc.                                                                     EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      7/18/2018 to Current

      MS Properties 1 LLC                                                                                    EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      7/16/2012 to Current

      MS Properties 2, LLC                                                                                   EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To


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      Business Name                                        Describe the nature of the business               Employer Identification number
      Address                                                                                                Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                             Dates business existed
      White Sand Investments, LLC                                                                            EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      4/26/2011 to 7/15/2019

      Riley Drive Entertainment XIX, LLC                                                                     EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      3/30/2016 to Current

      Riley Drive Entertainment XIII                                                                         EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      8/5/2013 to Current

      Riley Drive Entertainment XII                                                                          EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      3/27/15 to Current

      Riley Drive Entertainment XVIII                                                                        EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      3/27/2015 to Current

      Riley Drive Entertainment XIV                                                                          EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      9/15/2013

      Riley Drive Entertainment 23                                                                           EIN:         XX-XXXXXXX
      8801 Renner, Suite 403
      Lenexa, KS 66219                                                                                       From-To      4/15/2018 to Current

      Press Roll Rereroll                                                                                    EIN:         XX-XXXXXXX
      3939 Grand Ave.
      Des Moines, IA 50312                                                                                   From-To      7/25/2022

      RS Iowa, LLC                                                                                           EIN:         XX-XXXXXXX
      610 Reed Ct.
      West Des Moines, IA 50266                                                                              From-To      7/7/2022

      Beaverdale Tap, LLC                                                                                    EIN:         XX-XXXXXXX
      4050 Urbandale Ave.
      Des Moines, IA 50310                                                                                   From-To      11/4/2020

      Saints Waukee, LLC                                                                                     EIN:         XX-XXXXXXX
      5535 Mills Civic Pkwy.
      West Des Moines, IA 50265                                                                              From-To      12/9/2020


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)

Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
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with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Marc A. Mundt
Marc A. Mundt                                               Signature of Debtor 2
Signature of Debtor 1

Date     December 2, 2022                                   Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:

Debtor 1                 Marc A. Mundt
                         First Name               Middle Name                Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name                Last Name


United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF IOWA

Case number
(if known)                                                                                                                 Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's         Ford Motor Credit Company                    Surrender the property.                               No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                  Yes
   Description of       2022 Ford Explorer 2000 miles              Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:



   Creditor's         Iowa Bankers Mortgage Corp                   Surrender the property.                               No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                  Yes
   Description of 610 Reed Ct. West Des Moines,                    Reaffirmation Agreement.
   property       IA 50266 Dallas County                           Retain the property and [explain]:
   securing debt: Property assessed by Dallas
                  County Assessor at $475,460

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                 Will the lease be assumed?


Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
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Debtor 1     Marc A. Mundt                                                              Case number (if known)



Lessor's name:                                                                                                   No
Description of leased
Property:                                                                                                        Yes

Lessor's name:                                                                                                   No
Description of leased
Property:                                                                                                        Yes

Lessor's name:                                                                                                   No
Description of leased
Property:                                                                                                        Yes

Lessor's name:                                                                                                   No
Description of leased
Property:                                                                                                        Yes

Lessor's name:                                                                                                   No
Description of leased
Property:                                                                                                        Yes

Lessor's name:                                                                                                   No
Description of leased
Property:                                                                                                        Yes

Lessor's name:                                                                                                   No
Description of leased
Property:                                                                                                        Yes

Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X    /s/ Marc A. Mundt                                                 X
     Marc A. Mundt                                                         Signature of Debtor 2
     Signature of Debtor 1

     Date       December 2, 2022                                       Date




Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                               Southern District of Iowa
 In re       Marc A. Mundt                                                                                    Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,000.00
             Prior to the filing of this statement I have received                                        $                     3,000.00
             Balance Due                                                                                  $                        0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     December 2, 2022                                                         /s/ Brian J. Lalor
     Date                                                                     Brian J. Lalor
                                                                              Signature of Attorney
                                                                              Wandro & Associates, P.C.
                                                                              2501 Grand Avenue
                                                                              Des Moines, IA 50312
                                                                              515-281-1475 Fax: 515-281-1474
                                                                              blalor@2501grand.com
                                                                              Name of law firm
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                                       United States Bankruptcy Court
                                                Southern District of Iowa
In re   Marc A. Mundt                                                              Case No.
                                                            Debtor(s)              Chapter    7




                               VERIFICATION OF MASTER ADDRESS LIST
                                   ON PAPER (CREDITOR MATRIX)



                I (we) declare under penalty of perjury that I (we) have read the attached Master Address

        List (creditor matrix), consisting of   7   pages, and that it is true and correct to the best of my

        (our) knowledge, information, and belief.




Date: December 2, 2022                           /s/ Marc A. Mundt
                                                 Marc A. Mundt
                                                 Signature of Debtor




VER_MTRX (Rev. 04/00)
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                         10 Quivira Plaza 14 A, LLC
                         c/o Jonah Lock
                         105 East 5th Street, Suite 500
                         Kansas City, MO 64106

                         Affirm Loan Services
                         650 California St.
                         San Francisco, CA 94108

                         American Express Business
                         PO Box 0001
                         c/o Rausch Sturm, LLP
                         Los Angeles, CA 90096

                         American Express National Bank


                         Amur Equipment Finance, Inc.
                         308 N. Locust Street, Suite 100
                         Grand Island, NE 68801

                         Blue Ridge Bank & Trust Co.
                         4200 Little Blue Parkway
                         Independence, MO 64057

                         Brady Keith
                         13160 Foster Street, Ste. 100
                         Overland Park, KS 66213

                         Brady Keith
                         Southlaw, P.C.
                         13160 Foster St., Ste 100
                         Overland Park, KS 66213

                         Business Capital Providers, Inc.
                         4225 Fidus Dr
                         Suite 207
                         Las Vegas, NV 89103

                         C. Anthony Crnic
                         The Sayer Law Group
                         925 E. 4th St
                         Waterloo, IA 50703

                         Carl E. Zapffe, Esq
                         Zwicker & Associates, PC
                         1551 South Washington Ave., Suite 404
                         Piscataway, NJ 08854

                         Cast Capital Funding
                         2125 Center Ave.
                         Fort Lee, NJ 07024
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                     Central Bank
                     3800 100th St.
                     Urbandale, IA 50322

                     Citi Costco
                     PO Box 6500
                     Sioux Falls, SD 57117

                     Client Services, Inc.
                     3451 Harry S. Truman Blvd.
                     Saint Charles, MO 63301

                     D.R.A. Properties, L.C.
                     1525 NE 36th Street
                     Ankeny, IA 50021

                     Delta Management Group
                     2499 Rice Street, Ste. 245
                     Saint Paul, MN 55113

                     Discover Card
                     PO Box 6103
                     Carol Stream, IL 60197

                     Eagles Sign Company
                     605 SW 37th Street
                     Grimes, IA 50111

                     FirstSource Advantage, LLC
                     205 Bryant Woods South
                     Amherst, NY 14228
                     Ford Motor Credit Company
                     One American Road
                     Dearborn, MI 48126

                     Ford Motor Credit Company
                     PO Box 650574
                     Dallas, TX 75265

                     Forward Financing, LLC
                     100 Summer Street
                     Suite 1175
                     Boston, MA 02110

                     Fox Capital Group, Inc.
                     65 Broadway, Suite 804
                     New York, NY 10006

                     General Service Bureau
                     10303 Crown Point Ave.
                     Ste. 210
                     Omaha, NE 68134
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                     GM Financing


                     Great Western Bank
                     10101 University Ave
                     Clive, IA 50325

                     Harry L. Simon, Esq
                     Harry L. Simon, P.C.
                     10200 East Girard Avenue
                     Building B, Suite 120
                     Denver, CO 80231

                     Hauge Associates
                     2320 W 49th St.
                     Sioux Falls, SD 57105

                     Heartland Buisness Capital
                     8900 Indian Creek Parkway
                     Overland Park, KS 66210

                     Internal Revenue Service
                     Centralized Insolvency Operation
                     PO Box 7346
                     Philadelphia, PA 19101

                     Iowa Bankers Mortgage Corp
                     8800 NW 62nd Ave.
                     PO Box 6220
                     Johnston, IA 50131

                     Iowa Department of Revenue
                     1305 E Walnut St.
                     Fourth Floor
                     Des Moines, IA 50319

                     Itria Ventures LLC
                     13160 Foster St.
                     Suite 100
                     Overland Park, KS 66213

                     Itria Ventures, LLC
                     13160 Foster St
                     Suite 100
                     Overland Park, KS 66213

                     Jason D. Bahnsen
                     Southlaw P.C.
                     1401 50th St., Ste. 100
                     West Des Moines, IA 50266

                     Jason D. Bahnsen
                     Southlaw
                     1401 50th Street, Ste. 100
                     West Des Moines, IA 50266
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                     West Des Moines, IA 50266

                     Jonathan Kramer
                     699 Walnut Street, Suite 200
                     Des Moines, IA 50309

                     Jonathan S. Gitlin
                     462 Seventh Avenue, 20th Floor
                     New York, NY 10018

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                     462 Seventh Ave., 20th Floor
                     New York, NY 10018

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                     462 Seventh Ave, 20th Floor
                     New York, NY 10018

                     Jonathan S. Gitlin, Esq.
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                     New York, NY 10018

                     Jordan Creek Town Center
                     101 Jordan Creek Parkway
                     West Des Moines, IA 50266

                     Kansas Department of Revnue
                     PO Box 3506
                     Topeka, KS 66625

                     Kenneth P. Nelson
                     Shannon D. Simms
                     3112 Brockway Rd.
                     PO Box 1020
                     Waterloo, IA 50704

                     Knight Capital
                     9 E. Loockerman Street
                     Suite 202-543
                     Dover, DE 19901

                     Lana Jones-Gould
                     13669 Bay Hill Dr.
                     Clive, IA 50325

                     Landmark National Bank
                     8101 W. 135th St
                     Overland Park, KS 66223

                     Leasing Innovations, Inc.
                     261 N. Highway 101
                     Solana Beach, CA 92075
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                     Mark Swan
                     Strong & Hanni, P.C.
                     9350 South 150 East, Ste. 820
                     Sandy, UT 84070

                     Marlin Business Bank
                     2795 E Cottonwood Pkwy
                     #120
                     Salt Lake City, UT 84121

                     MercyOne Des Moines Medical Center
                     PO Box 1259
                     Dept # 141529
                     Oaks, PA 19456

                     Michael Enroughty
                     4500 East West Highway, 6th Floor
                     Bethesda, MD 20814

                     Missouri Department of Revenue
                     Harry S. Truman State Office Building
                     301 West High Street
                     Jefferson City, MO 65101

                     MRES West Glen Holdings, LP
                     c/o OMNE Partners
                     13340 California Street, Suite 100
                     Omaha, NE 68154

                     Nelson Law Firm
                     3112 Brockway Rd.
                     Waterloo, IA 50701

                     OakStar Bank
                     1020 E. Battlefield
                     Springfield, MO 65807

                     On Deck Capital, Inc.
                     1400 Broadway
                     New York, NY 10018

                     Pawnee Leasing Company
                     3801 Automation Way Suite 207
                     Fort Collins, CO 80525

                     Phoenix Financial Services
                     8902 Otis Ave
                     STE 103A
                     Indianapolis, IN 46216

                     Presto X (R)
                     1320 Northeast 60th Ave.
                     Des Moines, IA 50313
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                     Rapid Finance
                     4500 East West Highway
                     6th Floor
                     Bethesda, MD 20814

                     Rhett A. Frimet
                     10 East 40th Street, 46th Floor
                     New York, NY 10016

                     Roanoke Development LLC
                     3615 N. 120th Street
                     Omaha, NE 68164

                     Simply Funding
                     45 Broadway
                     Suite 2450
                     New York, NY 10006

                     Small Business Financial Solutions, LLC
                     4500 East West Highway, 6th Floor
                     Bethesda, MD 20814

                     Stephen B. Elggren PC
                     PO Box 709598
                     Sandy, UT 84070

                     Susquehanna Salt Lake LLC
                     136 E South Temple
                     Suite 1400
                     Salt Lake City, UT 84111

                     Thomas H. Burke
                     Molly M. Brown
                     Whitfield & Eddy, P.L.C.
                     699 Walnut Street, Suite 2000
                     Des Moines, IA 50309

                     Timothy J. Jacobs
                     Abbot Osborn Jacobs PLC
                     974 73rd Street, Ste. 16
                     West Des Moines, IA 50265

                     Timothy Jacobs
                     974 73rd Street, Ste. 20
                     Windsor Heights, IA 50324

                     U.S. Department of the Treasury
                     Attn: AWG Analyst
                     PO Box 830794
                     Birmingham, AL 35283

                     U.S. Small Business Administration
                     210 Walnut St.
                     Rm. 749
                     Des Moines, IA 50309
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                     United Collection Bureau
                     5620 Southwyck Blvd.
                     Toledo, OH 43614

                     UnityPoint Health
                     1776 West Lakes Pkwy. Suite 400
                     West Des Moines, IA 50266

                     Urban Town Center, LLC
                     c/o Signautre Real Estate
                     9500 University Avenue, Suite 2112
                     West Des Moines, IA 50266

                     Vista Real Estate & Investment Corp
                     2400 86th Street, Suite 24
                     Urbandale, IA 50322

                     Wells Fargo


                     West Bank
                     1601 22nd Street
                     Suite 24
                     Urbandale, IA 50322

                     William M. Reasoner
                     Mollie Pawlosky
                     Dickinson Mackaman, Tyler & Hagen, P.C.
                     699 Walnut St., Ste. 1600
                     Des Moines, IA 50309
